                  IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                           NO. 5:17-CR-00411-D


UNITED STATES OF AMERICA                 )
                                         )
             V.                          )
                                         )
STEPHEN CONDON PETERS                    )


FINAL ORDER OF FORFEITURE AS TO CERTAIN SUBSTITUTE ASSETS

      WHEREAS, on April 10, 2020, this Court entered an Order Substituting Res

forfeiting to the United States the defendant's interest in substitute assets, to wit:

$2,300.66 in surplus funds remaining from the Onslow County tax foreclosure action;

and $100,687.44 representing sale proceeds from the sale of 730 Court Street,

Jacksonville, Onslow County, North Carolina;

      AND WHEREAS, the United States published notice of the forfeiture at the

www.forfeiture.gov web site for at least 30 consecutive days, between May 16, 2020

and June 14, 2010, and between May 19, 2020 and June 17, 2020, as required by Rule

G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty of Maritime Claims and Asset

Forfeiture Actions, and said published notice advised all third parties of their right

to petition the court within sixty (60) days from the first day of the publication date

for a hearing to adjudicate the validity of their alleged legal interest in the forfeited

property;




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      AND WHEREAS, service of the Order Substituting Res upon the subject

personal properties was executed by an agent of the U. S. Marshals Service, and

evidence of service was filed with the Court on June 25, 2020;

      AND WHEREAS, it appears from the record that no claims, contested or

otherwise, have been filed for the subject assets identified above and listed in this

Court's April 10, 2020 Order Substituting Res.

      It is HEREBY ORDERED, ADJUDGED and DECREED:

      1.       That the subject assets identified above and listed in the Court's April

10, 2020 Order Substituting Res are hereby forfeited to the United States.

      2.       That the U.S. Marshals Service is authorized to dispose of said

substitute assets in accordance with the law.     Any and all forfeited funds shall be

deposited by the United States Department of Justice as soon as located or recovered

into the Department of Justice's Assets Forfeiture Fund in accordance with 28·U.S.C.

§ 524(c) and 21 U.S.C. § 881(e).

      SO ORDERED this 2.S" day of ~,k~b_ 2020.




                                   United States District Judge




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